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&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/CENTER&gt;
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&lt;STRONG&gt;&lt;CENTER&gt;NO. 03-&lt;A NAME="1"&gt;00-510&lt;/A&gt;-&lt;A NAME="2"&gt;&lt;/A&gt;CV&lt;/CENTER&gt;
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&lt;STRONG&gt;&lt;/STRONG&gt;&lt;CENTER&gt;&lt;A NAME="4"&gt;In re Patient Advocates of Texas &lt;/A&gt;&lt;/CENTER&gt;


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&lt;CENTER&gt;ORIGINAL PROCEEDING FROM TRAVIS COUNTY&lt;/CENTER&gt;


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PER CURIAM

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&lt;P&gt;		Relator has informed the Court that it no longer seeks mandamus relief. 
Accordingly, Relator's Petition for Mandamus is dismissed as moot. &lt;/P&gt;

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&lt;P&gt;Before Justices Kidd, B. A. Smith and Puryear&lt;/P&gt;

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&lt;P&gt;Filed:   March 14, 2001&lt;/P&gt;

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&lt;P&gt;Do Not Publish&lt;/P&gt;

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